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 IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND

MARYLAND SHALL ISSUE, INC., et al.,                    *
                                                       *
       Plaintiffs                                      *
                                                       *       Consolidated Case Nos.:
       v.                                              *       8:21-cv-01736-TDC (lead)
                                                       *       8:22-cv-01967-DLB
MONTGOMERY COUNTY, MARYLAND                            *
                                                       *
       Defendant                                       *

 MEMORANDUM IN SUPPORT OF DEFENDANT’S OPPOSITION TO PLAINTIFFS’
   EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER AND
       EMERGENCY MOTION FOR A PRELIMINARY INJUNCTION

       Defendant Montgomery County, Maryland, (“the County”) by and through its undersigned

counsel, respectfully requests that this Court deny Plaintiff’s Emergency Motion for a Temporary

Restraining Order and Emergency Motion for a Preliminary Injunction (ECF No. 054) because

Plaintiffs lack standing, and all places of public assembly identified in the County’s law are

constitutional.

I.     INTRODUCTION

                  “[In] 2020, the number of firearm-related deaths [in the U.S. rose] to
                  45,222 . . . That means that, in 2020, an average of about 124 people died
                  from gun violence every day . . . [G]un violence has now become the
                  leading cause of death in children and adolescents, surpassing car crashes,
                  which had previously been the leading cause of death in that age group for
                  over 60 years.”

New York State Rifle & Pistol Assoc., Inc. v. Bruen, 142 S. Ct. 2111, 2165 (2022) (Breyer, J.,

dissenting) (citations omitted).

                  [G]un violence has become sort of the norm, which is not where we need
                  to be… It is of grave concern.
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– Montgomery County Police Chief Marcus Jones, July 11, 2022. 1

       Against this backdrop of increased gun violence in the country, and within the County, the

County enacted a new law on guns in places of public assembly. Plaintiffs allege this new law

infringes upon their Second Amendment right to bear arms.

       In addition to lacking standing, Plaintiffs have not met the elements for this Court to issue

injunctive relief they seek. The County’s law is consistent with recent Second Amendment

guidance from the Supreme Court as to how the government may appropriately regulate the right

to bear arms. As much of the County’s law aligns with State law, banning enforcement of the

County’s law will not alter the status quo or spare Plaintiffs’ the irreparable harm they claim. Last,

the public interest in public safety far outweighs the minimal burden the County’s law places upon

Plaintiffs’ Second Amendment right. The Plaintiffs’ Motion should be denied.

II.    FACTS

       Plaintiffs’ Second Amended Complaint (ECF No. 049), filed on November 30, 2022,

challenges amendments made by the County to its Code provisions that govern weapons. Although

the Second Amended Complaint purports to allege eight counts, Plaintiffs seek injunctive relief

solely based upon Count VII, “Alleged Violations of the Second Amendment Right to Armed Self-

Defense in Public.” Count VII asserts that the County’s regulation of firearms in places of public

assembly cannot meet the test for permissible regulation in “sensitive places” set out by the

Supreme Court in New York State Rifle & Pistol Assoc., Inc. v. Bruen, 142 S. Ct. 2111 (2022).

(ECF No. 49 ¶¶ 135-158).




1
 See Dan Morse, Gun violence rises sharply in Montgomery County, police chief says, The
Washington Post, July 11, 2022, https://www.washingtonpost.com/dc-md-
va/2022/07/11/montgomery-county-gun-violence-double/ (Ex. 5).
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       Plaintiffs seek a temporary restraining order and preliminary injunction only as to Count

VII to prevent and enjoin the County from enforcing Section 57-11(a) of Chapter 57 of the

Montgomery County Code, as amended by County Bill 21-22E, against persons who have been

issued a wear and carry permit. (ECF No. 54 at 1).

       Alternatively, Plaintiffs seek to restrain the County from enforcing Section 57-11(a): (1)

as to wear and carry permit holders who allegedly “provide armed security to places of worship

and/or to private schools”; and (2) restrain the County from enforcing the 100-yard restriction

of places of public assembly as to wear and carry permit holders. (ECF No. 54 at 1-2).

       Plaintiffs in this case are licensed gun owners, with State of Maryland-issued wear-and-

carry permits; a non-profit group dedicated to the preservation and advancement of gun owners’

rights in Maryland; a firearms training facility; and a federally- and state-licensed firearms dealer.

III.   SUMMARY OF COUNTY LAW

       The County enacted the weapons ban at issue in Count VII in the aftermath of the Supreme

Court’s June 2022 decision, New York State Rifle & Pistol Association v. Bruen, 142 S. Ct.

2111 (2022) (hereafter “Bruen”). The Bruen Court found New York’s requirement that a party

must demonstrate “proper cause” to qualify for a handgun carry license violated the Second

Amendment’s right to bear arms. In so doing, the Court articulated a new test to evaluate whether

governmental firearms regulations pass muster under the Second Amendment. The Court stated

that the ban of firearms in “sensitive locations” is constitutionally permissible, and proceeded to

identify five locations – schools, legislative assemblies, government buildings, polling places, and

courthouses – as “sensitive places” where weapons may be totally prohibited. The Court left open

the possibility that other locations where weapons were historically banned – or the modern




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counterparts of those locations – could also qualify as “sensitive places.” 2

         Bruen led the County to enact changes to Chapter 57, “Weapons,” of the County Code. Bill

21-22E, effective November 28, 2022, changed inter alia the definition of “public assembly,”

where firearms are banned, and removed a prior exception that permitted State concealed carry

permit holders to carry in places of public assembly.

         A. The County Narrowed Its Definition of Place of Public Assembly and Aligned the
            Definition with Bruen.

         Bill 21-22E continued the existing prohibition of carrying a firearm within 100 yards of a

place of public assembly, but revised the definition of a “place of public assembly” to comport

with Bruen:

         A place of public assembly is:

                 (1)    a publicly or privately owned:

                        (A)     park;

                        (B)     place of worship;

                        (C)     school;

                        (D)     library;

                        (E)     recreational facility;

                        (F)     hospital;

                        (G)     community health center, including any health care facility
                                or community-based program licensed by the Maryland
                                Department of Health;

                        (H)     long-term facility, including any licensed nursing home,
                                group home, or care home;

                        (I)     multipurpose exhibition facility, such as a fairgrounds or
                                conference center; or


2
    Bruen will be discussed in more detail below.
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                       (J)    childcare facility;

               (2)     government building, including any place owned by or under the
                       control of the County;

               (3)     polling place;

               (4)     courthouse;

               (5)     legislative assembly; or

               (6)     a gathering of individuals to collectively express their constitutional
                       right to protest or assemble.

                A “place of public assembly” includes all property associated with the
                place, such as a parking lot or grounds of a building.

See Ex. 1, Bill 21-22E at 3-4, Lines 34-59. The Bill removed a prior broad statement that a place

of public assembly was a place “where the public may assemble.” See id. at 3, Line 35. The Bill

also removed the statement that a place public assembly “included” locations listed; in other words,

the prior list of locations of public assembly was not exhaustive. See id. at 3, Lines 35-36. By

removing “included,” the Bill 21-22E thereby made its scope narrower and clearer. Bill 21-22E

also added several “sensitive places” that Bruen expressly indicated were locations where weapons

could be constitutionally banned. See id. at 3-4, Lines 51-55.

       The Code’s prohibition against carrying in a place of public assembly expressly does not

apply to: law enforcement officers or security guards licensed to carry a firearm; possession of

firearm (other than a ghost gun) or ammunition in a person’s home; an unloaded firearm (other

than a ghost gun) in an enclosed case; or a firearm and its ammunition at a business whose owner

has a permit to carry or one authorized employee of the business who has a permit to carry. See id.

4-5, Lines 77-92.

       In addition to the exceptions to the firearms ban within the County’s law, Federal law – the



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the Law Enforcement Officers Safety Act – permits a qualified law enforcement officer or a

qualified retired or separate law enforcement officer to carry a concealed weapon regardless of

state or local laws. See 18 U.S.C. §§ 926B, 926C. There are exceptions to that law however for

State or County-owned properties; LEOSA expressly states weapons bans on those properties must

still be honored. See id. §§ 926B(b)(2); 926C(b)(2).

       B. State Concealed Carry Permit Holders Are No Longer Exempt From the County’s
          Ban on Carrying in a Place of Public Assembly.

       Bill 21-22E also removed a previous exception that allowed a State concealed carry permit

holder to carry a firearm in a place of public assembly. See Exhibit 2, Report of Staff of

Montgomery County Council, Expedited Bill 21-22 (November 10, 2022) at 4 (stating

“[e]xpedited Bill 21-22 would prevent an individual from possessing a firearm within 100 yards

of a place of public assembly even when the individual has a wear-and-carry permit from the State

of Maryland”). Prior to Bruen, Maryland required a person demonstrate “good and substantial

reason” to receive a wear-and-carry gun permit. Immediately after Bruen, Maryland Governor

Larry Hogan instructed the Maryland State Police to no longer enforce this requirement. 3 In the

weeks after Governor Hogan’s instruction, the number of applications for concealed carry permits

received by Maryland State Police increased eleven fold. 4 See Ex. 2 at 20. As concealed carry

permit holders would no longer have to demonstrate any justification for a concealed carry permit,

Bill 21-22E prevents a person from carrying a firearm within 100 yards of a place of public

assembly even if they have a valid State concealed carry permit.




3
  Also after Bruen, the Appellate Court of Maryland struck down the “good and substantial
reason” requirement. See In re Rounds, 255 Md. App. 205 (2022).
4
  See also Fredrick Kunkle, Supreme Court ruling sets off rush for concealed gun permits in
Maryland, The Washington Post (July 25, 2022)
 https://www.washingtonpost.com/dc-md-va/2022/07/15/concealed-carry-maryland-guns-hogan/.
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        Last, in the event any provision of Bill 21-22E is found to be unenforceable by the final

judgment of a court of competent jurisdiction, Bill 21-22E has a severability provision that

provides remaining provisions remain in full force and effect. See Ex. 1 at 5, Lines 97-100. See

also Montgomery County Code § 1-202(a) (“it is the intent of the Council that the provisions of

this Code and all laws enacted by the County Council are severable. If a provision is held invalid

or inapplicable, the remainder of the Code or the law remains in effect”).

IV.     STANDARD OF REVIEW

        Preliminary injunctions are extraordinary, drastic remedies. See Mazurek v. Armstrong,

520 U.S. 968, 972 (1997). Preliminary injunctions should not be granted unless the movant, by a

clear showing, carries the burden of persuasion. See id.

        A party seeking a temporary restraining order or a preliminary injunction must show that:

(1) it is likely to succeed on the merits; (2) it is likely to suffer irreparable harm absent relief; (3)

the balance of equities tips in its favor; and (4) an injunction is in the public interest. Pashby v.

Delia, 709 F.3d 307, 320 (4th Cir. 2013) (citing Winter v. Nat’l Resources Defense Council, Inc.,

555 U.S. 7, 20 (2008)). Courts considering whether to impose preliminary injunctions must

consider each factor. Id. Further, Rule 65(d) requires that any order granting an injunction must

“describe in reasonable detail ... the act or acts restrained or required,” such that affected parties

receive “explicit notice of precisely what conduct is outlawed.” Pashby at 331.

V.      ARGUMENTS

A.      All Plaintiffs Lack Standing.

        1.      Plaintiffs’ Claims and Purported Basis for Standing.

        Plaintiffs allege that they have standing on the following bases: (1) each of the eight

individual plaintiffs are alleged “to have a wear and carry permit issued by the Maryland State



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Police, and either lives in or transports a loaded firearm in and/or through the County,”

including “within 100 yards of multiple locations at which the possession or transport of a

loaded firearm is prohibited by Section 57-11(a) and fully intend to do so in the future.” Pls.’

Mem. (ECF No. 54-1) at 31, 33: (2) the residential homes of individual plaintiffs, Ronald David,

Nancy David, Joshua Edgar Brandon Ferrell are allegedly “situated within 100 yards of one or

more” places of public assembly as defined under Section 57 and thus are allegedly unable to

leave their house with a firearm without violating Chapter 57. 5 Id. at 33; (3) MSI argues that it

has both standing on its own behalf as it allegedly seeks to protect interests that “are germane to

MSI’s purpose,” and representation standing to sue on behalf its members. Id. at 33-34; (4)

Engage Armament alleges that it is a federally and state licensed firearms dealer that is “arguably

at or within 100-yards” of a place of public assembly as defined under Section 57 6 and “has

standing to sue on its own behalf and on behalf of its customers and “other similarly situated

persons” for injuries inflicted by Chapter 57.” Id. at 32; (5) ICE Firearms alleges that it operates

a firearms training facility in the County and is allegedly “located within 100 yards” of a place

of public assembly as defined under Section 57. Id at 34.

       The County respectfully requests that this Court dismiss Plaintiffs’ Motion for Temporary

Restraining Order because all Plaintiffs lack standing, both individually and organizationally, as

Plaintiffs have not identified any credible threat of prosecution under Chapter 57 or cognizable

harm beyond speculative potential future harm to themselves or their members.




5
  Notably, the Motion for Temporary Restraining Order does not specifically identify any place
of public assembly that is “arguably” within 100 years of the residential home of any individual
Plaintiff. Plaintiffs’ broad pronouncements are insufficient to establish standing.
6
  Plaintiff Engage Armament alleges that is it “arguably,” within 100 years of a place of public
assembly, but County Code § 57-11(d) exempts certain licensed gun shops. See Ex. 58 at 17.

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        2.      All Plaintiffs Lack Standing for a Pre-Enforcement Challenge.

        As acknowledged by Plaintiffs in their Motion for TRO, “A preliminary injunction is an

extraordinary remedy…” Pls.’ Mem. (ECF No. 54-1) at 9, citing Di Base v. SPX Corp., 872 F.3d

224, 230 (4th Cir. 2017). Here, the extraordinary relief sought by the Plaintiffs is neither warranted

on the merits nor have the Plaintiffs established standing to pursue such relief.

        The Supreme Court has called the doctrine of standing “perhaps the most important” of the

case-or-controversy doctrines and the “the threshold question in every federal case.” Allen v.

Wright, 468 U.S. 737, 750 (1984); Warth v. Seldin, 422 U.S. 490, 498 (1975). To establish Article

III standing, a plaintiff “must have (1) suffered an injury in fact, (2) that is fairly traceable to the

challenged conduct . . . and (3) that is likely to be redressed by a favorable judicial

decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016).

        Justiciable injury for purposes of Article III must be “real and immediate” and not purely

speculative and abstract. City of Los Angeles v. Lyons, 461 U.S. 95, 102 (1983). “An allegation of

future injury may suffice if the threatened injury is certainly impending, or there is a substantial

risk that the harm will occur.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158

(2014) (internal quotation marks omitted). Since Plaintiffs here seek pre-enforcement declaratory

and injunctive relief, they must establish an ongoing or future injury in fact. O’Shea v. Littleton,

414 U.S. 488, 495-96 (1974) (“Past exposure to illegal conduct does not in itself show a present

case or controversy regarding injunctive relief . . . if unaccompanied by any continuing, present

adverse effects.”).

        A plaintiff alleges sufficient injury in a pre-enforcement suit to establish standing if she

alleges: (1) “intention to engage in a course of conduct arguably affected with a constitutional

interest, but proscribed by a statute, and (2) there exists a credible threat of prosecution



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thereunder.” Kenny v. Wilson, 885 F.3d 280, 288 (4th Cir. 2018) (quoting Babbitt v. Farm Workers

Nat'l Union, 442 U.S. 289, 298 (1979)).

       While none of the Plaintiffs have faced prosecution, they allege generally that they fear

future prosecution and a conviction that could hypothetically result in a lifetime federal and

Maryland restriction on possession of firearms. Pls. Mem. (ECF No. 54-1) at 2. While a plaintiff

challenging the constitutionality of a law generally need not wait until they are actually arrested

or prosecuted, a credible threat of imminent prosecution against the plaintiff must exist. Susan

B. Anthony List v. Driehaus, 573 U.S. 149, 159 (2014)(emphasis added). A credible threat of future

prosecution cannot rest on fears that are “imaginary or speculative.” Babbitt, 442 U.S. at 298

(quoting Younger v. Harris, 401 U.S. 37, 42 (1971)). Nor is such an injury evident where plaintiffs

“do not claim that they have ever been threatened with prosecution, that a prosecution is likely, or

even that a prosecution is remotely possible.” Babbitt, 442 U.S. at 298–99 (internal quotation

marks omitted).

       To the extent that Plaintiffs here have alleged a sufficient intention “to engage in conduct

afflicted with a constitutional interest,” they have offered no evidence to support a credible threat

of prosecution as required by Babbitt. Id. Plaintiffs do not allege that they have been threatened

with prosecution as in Steffel. Similarly, Plaintiffs have offered no evidence of the laws at issue

having been enforced in any fashion, again as in Steffel. Furthermore, Plaintiffs have alleged no

past or present threats of prosecution, nor any other particularized threats that would justify

“imminent injury.”

       If this Court were to adopt Plaintiffs’ “imminent injury” argument, then any person would

have standing to challenge any existing criminal statute by alleging only that they intend to violate

said statute. Adopting such a broad scope of standing negates any real showing of “imminent



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injury” and we ask the Court not to do so here. Absent threatened injury, such as prosecution,

review of criminal laws is, in effect, an appropriation of power by the federal judiciary. See United

Public Workers v. Mitchell, 330 U.S. 75, 86-91 (1947). Such an exercise would leave "the federal

courts as virtually continuing monitors of the wisdom and soundness of Executive [and

Legislative] action." Laird, 408 U.S. at 15 (1972). Federal judges would come to operate as second

vetoes, through whom laws must pass for approval before they could be enforced. Doe v. Duling,

782 F.2d 1202, 1207, 1986 U.S. App. LEXIS 22121, *12 (4th Cir. 1986).

       Plaintiffs heavily rely upon recent Second Circuit decisions, including Hardaway v.

Nigrelli, --- , 2022 U.S. Dist. LEXIS 200813, __ F.Supp.3d __ (W.D.N.Y. Nov. 3, 2022) to support

their Motion for Temporary Restraining Order. (ECF No. 56, Notice of Supplemental Authorities).

Although these Second Circuit decisions are not binding upon this Court, they nonetheless

highlight precisely why Plaintiffs here have not identified any credible threat of prosecution and

thus failed to establish standing.

       In Hardaway v. Nigrelli, plaintiffs Reverend Dr. Jimmie Hardaway, Jr, Bishop Larry A.

Boyd, Firearms Policy Coalition, Inc. and Second Amendment Foundation filed claims against

three defendants in their official capacities, the superintendent of the New York State Police, the

Niagara County District Attorney (Nigrelli), and the Erie County District Attorney and sought a

temporary restraining order and preliminary injunction enjoining New York from enforcing its

post-Bruen firearm laws, including but not limited to its restriction on possession of firearms by

carry permit holders in places of worship. Hardaway, at *3-4. Similar to certain individual

Plaintiffs in this action, the Hardaway plaintiffs sought to carry “concealed firearms on church

property in case of confrontation to both themselves and their congregants." Id.




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       In Hardaway, as in this action, “only the first element of the test, i.e., whether the individual

Plaintiffs have suffered an injury-in-fact” was at issue. Id. * 7. The Hardaway court reiterated “that

a plaintiff suffers an injury-in-fact sufficient to establish standing when he or she faces "threatened

enforcement of a law" that is "sufficiently imminent." Id. * 7, citing Susan, B. Anthony List, 573

U.S. at 158-189.

       The Second Circuit found that the Hardaway plaintiffs faced "threatened enforcement of a

law" that was "sufficiently imminent " because New York public officials, including the Governor

of New York and Defendant Nigrelli, First Deputy State Police Superintendent, specifically

threatened arrests and prosecution for those who violated the New York post-Bruen firearms laws

at issue. Hardaway at *8-10. In particular, the Hardaway court cited to New York Governor Kathy

Hochul’s press statement announcing that individuals “who carry concealed weapons in sensitive

locations … will face criminal penalties” and defendant Nigrelli’s public statements emphasizing

a “zero tolerance” enforcement policy, that New York State, troopers “are standing ready” to

ensure that “all laws are enforced” and that if “you violate this law, you will be arrested. Simple

as that.” Id. at *8-10 (emphasis added). The Hardaway court found that these specific and public

threats of enforcement by New York public officials “show that New York residents…face

“threatened enforcement of a law” that is ‘sufficiently imminent.’” Id. at *10 citing Susan B.

Anthony List, 573 U.S. at 158-59.

       Plaintiffs in this action have not cited to any similar public threats of “zero tolerance”

enforcement or prosecution by Montgomery County public officials. In fact, Plaintiffs in this

action have also not alleged that the County’s post-Bruen firearm carry laws have been enforced

against any person or entity. Furthermore, it is notable that even after Plaintiffs have publicly

announced through their filings in this action that they allegedly continue to violate Rule 57, they



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have not been arrested or personally threated with prosecution. Indeed, Plaintiffs have not

identified a single citation, civil or criminal, that has issued from the County.

       Plaintiffs’ attempt to rely on two other recent and non-binding Second Circuit rulings,

Antonyuk v. Hochul, 2022 U.S. Dist. LEXIS 201944, __ F.Supp.3d __, 2022 WL 4367410 and

Christian v. Nigrelli, 2022 U.S. Dist. LEXIS 211652, __ F.Supp.3d __, fail for the same reason as

their reliance on the Hardaway ruling fails. See Pls. Mem. (ECF No. 54-1) at 25 – 27.

       In the Antonyuk and Christian cases, as in the Hardaway case, the Second Circuit found

that the plaintiffs had standing to bring a pre-enforcement challenge of New York’s post-Bruen

firearms laws based upon numerous specific public statements by New York public officials which

amounted to the credible and imminent threat of prosecution. Antonyuk, 2022 U.S. Dist. LEXIS

201944 *34-8; Christian, 2022 U.S. Dist. LEXIS 211652 * 8-10. The statements by New York

public officials cited by the Antonyuk and Christian courts were similar, and in some instances

identical, to those public official statements relied upon by the Hardaway court, including

defendant Nigrelli’s announcement of a “zero tolerance” enforcement policy and New York

Governor Hochul’s statement that those "who carry concealed weapons in sensitive locations ...

will face criminal penalties." Christian, *9.

       Plaintiffs in this action have not alleged similar specific statements by Montgomery County

public officials necessary to establish an imminent and credible threat of prosecution. As such,

Plaintiffs have alleged nothing more than hypothetical, future harm which is insufficient to

establish Article III standing for a pre-enforcement challenge.

       3.      Plaintiffs MSI and Engage Armament Lack Organizational Standing.

       An organization can demonstrate standing to sue in two ways: on its own behalf

(organizational standing) or on behalf of its members (representational standing). White Tail



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Park, Inc., 413 F.3d at 458 (4th Cir., 2005). For the reasons set forth above in Section V(A)(2),

neither MSI nor Engage Armament can establish representation standing through their members

because their members do not have standing in their own right to pursue a pre-enforcement

challenge due to a lack of any credible threat of prosecution.

       In an improper attempt to seemingly further bolster their argument for representation

standing on behalf of their members, MSI cites to four John Doe declarants, who are allegedly

MSI members, possess wear and carry permits issued prior to the enactment of Bill 21-22E, and

each provided armed security to their respective synagogues and churches. Pls.’ Mot. (ECF No.

54) at 4. The Court should reject these anonymous declarations of non-parties, as they are

inherently unreliable and violate the spirit and letter of 28 U.S. Code § 1746, especially in light

of the “extraordinary relief” of a pre-enforcement injunction sought by Plaintiffs here. Affidavits

must meet applicable rules of evidence to be admissible. An anonymous affidavit is not generally

considered to be a “sworn affidavit.” See Patterson v. Cty. of Oneida, 375 F.3d 206, 223 (2d Cir.

2004) (redacted name of affiant did not satisfy FRCP Rule 56(e)). Plaintiffs’ attempt to submit

anonymous testimony is patently inadmissible. Through these anonymous declarations, the

Plaintiffs seek to introduce medical reports of incidents of violence occurring at houses of

worship outside the County and outside the Plaintiffs or John Doe’s personal knowledge in a

blatant attempt to inflame the court. The Court should reject these improper tactics.

Accordingly, MSI and Engage Armament do not have representational standing.

       Furthermore, MSI and Engage Armament lack standing to assert an independent,

organizational claim on their own behalf. A plaintiff can establish organizational standing only

“when it seeks redress for an injury suffered by the organization itself.” White Tail Park, Inc., 413

F.3d at 458. An injury is cognizable, for organizational standing purposes, when the plaintiff



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alleges that “a defendant’s practices have hampered an organization’s stated objectives causing

the organization to divert its resources as a result.” Action NC v. Strach, 216 F. Supp. 3d 597, 616

(M.D.N.C. 2016) (citing Havens Realty Corp. v. Coleman, 455 U.S. 363, 379, 102 S. Ct. 1114, 71

L. Ed. 2d 214 (1982)).

       Plaintiff MSI fails to allege any such injury to itself in the Motion for Temporary

Restraining Order, stating only “that the interests MSI seeks to protect are germane to MSI’s

[unspecified] purpose.” Pls. Mem. (ECF No. 54-1) at 32. The Second Amended Complaint alleges

that the purposes of MSI include “promoting the exercise of the right to keep and bear arms and

education, research and legal action associated with the constitutional right to privately own,

possess and carry firearms.” Pls. Second Am. Compl. (ECF No. 49) ¶ 48.

       MSI was a very active litigant on the issue of gun rights for years prior to the County

enacting Chapter 57. See Md. Shall Issue v. Hogan, 963 F.3d 356, 2020 U.S. App. LEXIS 20426,

*1 (4th Cir. 2020); Md. Shall Issue, Inc. v. Hogan, 971 F.3d 199, 2020 U.S. App. LEXIS 24370 (4th

Cir. 2020); and Md. Shall Issue v. Hogan, 353 F. Supp. 3d 400, 2018 U.S. Dist. LEXIS 195615.

As the Court is aware, MSI was a named Plaintiff in this action prior to the County’s post-Bruen

firearms laws at issue. The Motion for Temporary Restraining Order fails to identify any basis for

organizational standing or differentiate how MSI’s operations or participation in this action post

enactment of Chapter 57 is anything other than business as usual for MSI.

        Without elaboration, the Motion for Temporary Restraining Order alleges that Engage

Armament has standing on its own behalf “[as] a [firearms] dealer.” Id. The Amended Complaint

alleges that Engage Armament suffered financial injury due to the prohibitions from possessing

the “ghost guns” banned by Chapter 57. Pls. Second Am. Compl. (ECF No. 49) at 27. However,




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any such alleged financial injury related to “ghost guns” is immaterial to the relief sought, and

insufficient to establish an injury-in-fact, in the Motion for Temporary Restraining Order.

        Accordingly, neither MSI nor Engage Armament have alleged any injury-in-fact and both

lack representational and organizational standing. On this basis alone, the Motion for Temporary

Restraining Order should be denied.

B.      The County’s Law is Constitutional.

        The County’s regulation of firearms is constitutional and consistent with the recently

evolving Supreme Court Second Amendment precedent. Bill 21-22E constitutionally prohibits

firearms in places of public assembly that, historically, are the very “sensitive areas” where the

Second Amendment right to keep and bear arms does not apply. Alternatively, the prohibited carry

locations are analogous to relevantly similar historical precursors prohibiting the carry of weapons

in certain locations.

        Within the last 15 years, the Supreme Court issued three seminal Second Amendment

decisions. In its “first in-depth examination” of the Second Amendment, the Court found

unconstitutional a ban against handguns in the home in District of Columbia v. Heller, 554 U.S.

570, 635 (2008). In 2010, the Court determined that the Second Amendment applies to the states

via the Fourteenth Amendment in McDonald v. City of Chicago, 561 U.S. 742, 750 (2010). Finally,

in Bruen, the Court found the Second Amendment violated by a law that required that a person

demonstrate “proper cause” to carry a concealed handgun outside of their home. See Bruen at

2122. All three cases emphasized that the inherent right of self-defense is central to the Second

Amendment, and that right of self-defense is most acute in one’s own home. See Bruen at 2135;

McDonald, 561 U.S. at 767; Heller, 554 U.S. at 628.




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       All three cases also recognized, however, that an individual’s Second Amendment right to

possess a firearm for self-defense is not without limits and can appropriately be subject to

government regulation. See Bruen at 2162 (Kavanaugh, J., concurring) (“[p]roperly interpreted,

the Second Amendment allows a ‘variety’ of gun regulations” (quoting Heller, 554 U.S. at 636));

McDonald, 561 U.S. at 786 (noting that it is “important to keep in mind” that Heller did not cast

doubt on certain “longstanding regulatory measures” in connection with firearms); Heller, 554

U.S. at 595 (2008) (the right to keep and bear arms is “not unlimited”); Id. 626 (the right to bear

arms for self-defense is not a “right to keep and carry any weapon whatsoever in any manner

whatsoever and for whatever purpose”).

       The Supreme Court announced a new analysis of whether a government regulation violates

the Second Amendment in Bruen. Under the new analysis, if the conduct sought to be regulated

falls within the scope of the Second Amendment, there is only one step for a court to consider:

whether the government can justify its regulation by demonstrating it is “[c]onsistent with the

Nation’s historical tradition of firearm regulation.” Bruen at 2130. 7

       Bruen identified five “sensitive places” where firearms historically could be

constitutionally prohibited: schools, government buildings, legislative assemblies, polling places,

and courthouses, finding no evidence of disputes or challenges to the prohibition of weapons in

those locales. See Bruen at 2133. The Court instructed courts to “use analogies to those historical

regulations of ‘sensitive places’ to determine [whether] modern regulations prohibiting the carry

of firearms in new and analogous sensitive places are constitutionally permissible.” Id. at 2133

(emphasis in original).



7
 In so holding, the Court expressly rejected a two-step test previously developed and used by
Courts of Appeals to assess whether a governmental regulation of firearms was constitutional. See
Bruen at 2126-27.
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       These five sensitive places in Bruen are not exhaustive. See Bruen at 2134. The government

may justify its regulation by identifying other “relevantly similar” historical regulations. See id. at

2132. The Bruen Court identified two metrics for courts to use in a “relevantly similar” analysis:

“how and why the regulations burden a law-abiding citizen’s right to armed self-defense.” Id. at

2133. The analogue analysis therefore should review “[w]hether modern and historical regulations

impose a comparable burden on the right of armed self-defense and whether that burden is

comparably justified.” Id. at 2133.

       While the “how” and “why” metrics are central to the analysis, they are not the only metrics

for a court to review. See Bruen at 2132 (stating that the Court does not provide an “exhaustive

survey of the features that render regulations relevantly similar under the Second Amendment”).

In addition to the “how” and “why” metrics, the Court stated that the task of historical analogue

analysis can be a “straightforward” assessment if the challenged law “addresses a general societal

problem that has persisted since 18th century.” Bruen at 2131. In that case, the absence of a similar

law addressing the problem is relevant evidence that the new law is unconstitutional. See id. at

2131. But for laws that implicate “unprecedented societal concerns or dramatic technological

changes,” a more “nuanced” approach may be required, as “[t]he regulatory challenges posed by

firearms today are not always the same as those that preoccupied the Founders in 1791 or the

Reconstruction generation in 1868.” Id. at 2132.

       To that end, the Court cautioned that the historical analogue analysis as “[n]either a

straightjacket nor a regulatory blank check.” Bruen at 2133. Analogical reasoning “[r]equires only

that the government identify a well-established and representative historical analogue, not a

historical twin.” Id. at 2133 (emphasis in original). See also U.S. v. Tallion, No. 8:22-po-01758-

AAQ, 2022 U.S. Dist. LEXIS 225175 *4 (D. Md. December 13, 2022) (noting that Bruen’s test



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requires “[l]ower courts to thread the needle between upholding every modern law that remotely

resembles a historical analogue and striking down all laws that lack a precise historical twin”

(quotations omitted)). Thus, if the challenged law is not a “[d]ead ringer for historical precursors,

it still may be analogous enough to pass constitutional muster.” Bruen at 2133.

       Contrary to Plaintiffs’ assertion that the County enacted Bill 21-22E “in spite of” Bruen,

the County enacted Bill 21-22E expressly considering Bruen’s guidance and to align the

County’s law with Bruen. Cf. Pls.’ Mem. (ECF No. 54-1) at 17, with Exhibit 2, Report of Staff of

Montgomery County Council, Expedited Bill 21-22 (November 10, 2022) at 3, 5-8; Exhibit 4,

Steve Bohnel, County Council passes legislation prohibiting firearm use, carrying within 100

yards of some public places, November 15, 2022, BethesdaMagazine.com,

https://bethesdamagazine.com/2022/11/15/county-council-passes-legislation-prohibiting-

firearm-use-carrying-within-100-yards-of-some-public-places/ (quoting the Council President

stating that the Council worked to ensure Bill 21-22E aligned with Bruen).

       Unlike the law at issue in Bruen, which required individuals to demonstrate “proper cause”

to carry a weapon anywhere outside of the home, the County’s law is much more limited in scope.

The County’s law addresses the right to carry in places of public assembly, or where large groups

of persons are likely to be gathered and therefore more likely vulnerable to gun violence.

       1.      Plaintiffs Will Not Likely Succeed on the Merits

       As the County’s regulation of firearms in places of public assembly is consistent with

Bruen, Plaintiffs will not likely succeed on the merits. The County’s definitions of “place of public

assembly” are either one of the five Bruen “sensitive locations,” have exact historical statutory

matches, or have historical statutory analogues that demonstrate the right to bear arms was

understood to not exist in those areas.



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               a.        The 5 Bruen Sensitive Locations

       The Supreme Court recognizes schools, government buildings, polling places, legislative

assemblies, and courthouses as sensitive places where weapons may be constitutionally prohibited.

See Bruen at 2133. Bill 21-22E’s prohibition of guns in these locales is constitutional. Plaintiffs

notably do not contest these prohibitions.

               b.        Buffer Zones Around Sensitive Locations, and Inclusion of a Place’s
                         Parking Lots or Building Grounds.

       The County’s law prohibits carry within 100 yards of a place of public assembly, and

includes “[a]ll property associated with the place [of public assembly], such as a parking lot or

grounds of a building.” See Ex. 1 at 4, Lines 58-59. Plaintiffs challenge this as overly broad and

restrictive of their ability to travel throughout the County. See Pls.’ Mem. (054-1) at 21-27. Despite

Plaintiffs’ arguments, this Court should uphold these “buffer zone” provisions of the County’s

law, as the State of Maryland expressly authorizes the County to do so, courts prior to Bruen upheld

the concept of a buffer zone, and many historical analogues included buffer zones around sensitive

areas and populations.

                         (i)   State Law Expressly Permits the County to Prohibit Carry
                               Within 100 Yards of Public Assembly.

       State law expressly authorizes the County to include a “buffer zone” in any regulation of

the carry of weapons in places of public assembly. See Md. Code Ann., Crim. Law § 4-

209(b)(1)(iii). The law provides that a county may regulate the “purchase, sale, transfer,

ownership, possession and transportation” of a handgun, rifle, or shotgun, or the ammunition for

and components thereof, “within 100 yards of or in a park, church, school, public building, and

any other place of public assembly.” Id. This is reflective of the fact that both case law and prior

statutes recognize that not only should a sensitive location be protected, but similarly the area



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surrounding it is entitled to protection.

                       (ii)    Cases Acknowledge the Concept of Buffer Zones and Inclusion
                               of Parking Lots as Part of a Building Where the Second
                               Amendment Does Not Apply.

       Several recent appellate decisions found that the parking lots associated with federal

property qualified as a “sensitive location” in which the Second Amendment right to bear arms did

not apply.

       For example, a parking lot reserved for government employees 1,000 feet from the U.S.

Capitol’s entrance was “sufficiently integrated” with the Capitol to be considered a sensitive place

where firearms may be banned in U.S. v. Class, 930 F.3d 460 (D.C. Cir. 2019). 8 The Court relied

upon several factors to support this conclusion: 1) the lot had been set aside for the use of

government employees, 2) the lot was in close proximity to the Capitol building, and 3) the lot

was on land owned by the government. See id. at 464. The Court had “[l]ittle trouble concluding

that the same security interests which permit regulation of firearms ‘in’ government buildings

permit regulation of firearms on the property surrounding those buildings as well.” Id. 464.

       In addition to Class, two other Courts of Appeals found that the Second Amendment right

to bear arms does not apply in the parking lots around government buildings in Bonidy v. U.S.

Postal Serv., 790 F.3d 1121 (10th Cir. 2015) and U.S. v. Dorosan, 350 Fed. Appx. 874 (5th Cir.

2009). Both cases involved challenges to federal regulations that prohibited storage and carriage

of firearms on U.S. Postal Service property. See Bonidy, 790 F. 3d at 1123; Dorosan, 350 Fed.

Appx. at 875. Both Courts held that the ban on guns in government buildings apply with the same

force to the parking lot as to the building itself. See Bonidy, 790 F. 3d at 1126; Dorosan, 350 Fed.



8
 While this decision and the next two discussed predated Bruen, all nevertheless relied heavily
upon Heller and its discussion of “sensitive locations” that Bruen augmented. See Class, 930
F.3d at 464; Bonidy 790 F.3d at 1124-25; Dorosan at 350 Fed. Appx. at 875-76.
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Appx. at 875-76.

       The same logic applies here: the same security interests that permit regulation of firearms

in sensitive locations permits the County’s regulation of firearms in the parking lot or on building

grounds.

                       (iii)   Historical Analogues for Buffer Zones Demonstrate Their Need
                               and Validity.

       Many historical laws prohibit weapons within a certain distance of various areas, activities,

and populations.

       Maryland prohibited guns within one mile of polling places, recognized by Bruen as a

sensitive area, on election days in Calvert County (1886 and 1888) and in Kent, Queen Anne’s,

and Montgomery Counties (1874). See 1886 Md. Laws 315, ch. 189, § 1 (Ex. 30); John Prentiss

Poe, Maryland Code: Public Local Laws, Adopted by the General Assembly of Maryland, March

14, 1888, at 604 § 71 (1888) (Ex. 33); 1874 Md. Laws 366, ch. 250, § 1 (Ex. 22). Louisiana in

1870 similarly prohibited guns on within “one-half mile of any place of registration” for elections.

See 1870 La. Acts 159-160, no. 100, § 73 (Ex. 19).

       To protect water fowl, Somerset County in 1837 banned guns in or within 50 yards of any

water fowl blind on Smith Island. See 1837 Md. Acts Ch. 101, An Act for the Preservation of Wild

Fowl in the Waters of Smith’s Island and its Vicinity, in Somerset County, §§ 1-2 (Ex. 9)

       Many localities (Philadelphia; St. Paul; Pittsburgh; Reading, Pennsylvania; Trenton, New

Jersey) banned guns within 50 or 100 yards of their parks, squares, or common areas. See Pa. –

General Assembly, P.L. 1083, No. 1020, A Supplement to An Act appropriating ground for public

purposes in the city of Philadelphia § 21.2 (1867) (prohibiting the carry of firearms or shooting at

birds in the park or “within 50 yards thereof”) (Ex. 16); Acts of Assembly Relating to Fairmount

Park (Philadelphia, PA) § 21(II) (1870) (prohibiting the carry of fire-arms or shooting birds in the

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Fairmount Park in Philadelphia, or “within fifty yards thereof”) (Ex. 20); Annual Reports of the

City Officers and City Boards of the City of Saint Paul, for the Fiscal Year Ending December 31,

1888, at 689 (prohibiting the carry of firearms of shooting birds in any park or “within fifty yards

thereof”) (Ex. 32); A Digest of the Acts of Assembly Relating to and the General Ordinances of

the City of Pittsburgh, from 1804 to Jan. 1, 1897, Ordinances–Executive Departments, Bureau of

Parks (1893) (prohibiting firearms “within the limits of parks or within one hundred yards

thereof”) (Ex. 41); A Digest of the Laws and Ordinances for the Government of the Municipal

Corporation of the City of Reading, Pa., Park Rules and Regulations, 240 (1897) (prohibiting carry

of firearms “in the common, or within fifty yards thereof”) (Ex. 44); City of Trenton, N.J., Charter

and Ordinances 390, An Ordinance providing for the government and protection of public parks

and squares of the city of Trenton (1903) (prohibiting the carry firearms or shooting birds “in said

park or squares, or within fifty yards thereof”) (Ex. 47).

       New Mexico, when it was still a Territory, 9 prohibited the unlawful brandishing of a

weapon within a “settlement,” defined to mean “any point within three hundred yards of any

inhabited house.” See 1887 N.M. Laws 56, An Act to Prohibit the Unlawful Carrying and Use of

Deadly Weapons, ch. 30, § 4; An Act to Prohibit the Unlawful Carrying and Use of Deadly

Weapons, Feb. 18, 1887, reprinted in Acts of the Legislative Assembly of the Territory of New

Mexico, Twenty-Seventh Session 55 (1887) (Ex. 31).

       The concealed carry of weapons could not occur within two miles of a university, college,

or school in Mississippi in 1892. R. H. Thompson, The Annotated Code of the General Statute


9
 See Andrew Willinger, Territorial Gun Regulation and the “Lost” History of the Federal
Second Amendment, Duke Center for Firearms Law Blog (August 8, 2022)
https://firearmslaw.duke.edu/2022/08/territorial-gun-regulation-and-the-lost-history-of-the-
federal-second-amendment/ (arguing the Second Amendment has always applied in territories,
and historical territorial laws should be given weight despite Bruen court’s discount of same).

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Laws of the State of Mississippi 327, § 1030 (1892) (Ex. 38). And Connecticut in 1859 banned the

sale of liquor “within one mile of any military parade-ground, muster-field, or encampment.” See

1859 Conn. Acts 62, An Act in Addition to and in Alteration of “An Act For Forming And

Conducting The Military Force,” chap. 82, § 5 (Ex. 14).

       These historical laws expressly prohibit weapons in buffer zones around sensitive areas;

the County’s prohibition of guns in buffer zones is consistent with this historical tradition and is

constitutional.

       The foregoing authority in State law, federal appellate decisions identifying parking lots as

integrated with sensitive locations, and historical statutes support a determination that the County’s

regulation of firearms within 100 yards of places of public assembly and in parking lots and

building grounds of places of public assembly is consistent with historical tradition and

constitutional. If Maryland historically protected water fowl with a buffer zone, certainly human

life in areas of public assembly can similarly be protected by a buffer zone.

                  c.   Privately Owned Schools

       Plaintiffs challenge the County’s inclusion of private schools in the list of areas of public

assembly where guns are banned. See Pls.’ Mem. (ECF No. 54-1) at 13, 24. Private schools present

the same security and safety concerns as public schools, as they similarly involve a vulnerable

population – children – gathering for purposes of education. To that end, when the Supreme Court

listed schools as sensitive places, it did not specify “only public” schools. See Bruen at 2133;

Heller, 554 U.S. at 626 (“nothing in our opinion should be taken to cast doubt on . . . laws

forbidding the carrying of firearms in sensitive places such as schools and government buildings).

       Any argument that a ban in schools must be limited to public schools infers that the need

to protect children disappears magically where private sector employees are acting as teachers. In



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terms of the hazards of firearms, there is absolutely no principled difference between public school

students and private school students.

       Further, historical statutory bans on weapons in schools (from Texas, Missouri, the territory

of Arizona, and the territory Oklahoma) are not limited to public schools, but rather ban weapons

in any school. See 1870 Tex. Gen. Laws 63, ch. 46, § 1 (prohibiting weapons in “any school-room

or other place where persons are assembled for educational, literary, or scientific purposes”

(emphasis added)) (Ex. 21), 1879 Tex. Crim. Stat. tit. IX, Ch. 4, Art. 320 (same law still in effect)

(Ex. 26); John A. Hockaday et al., Revised Statutes of the State of Missouri 1879, at 224 (1879) (§

1274) (prohibiting carrying firearms at “any school room or place where people are assembled for

educational, literary or social purposes” (emphasis added)) (Ex. 25); 10 1883 Mo. Laws 76, An Act

To Amend Section 1274, Article 2, Chapter 24 Of The Revised Statutes Of Missouri, Entitled “Of

Crimes And Criminal Procedure,” § 1 (same law still in effect) (Ex. 29); 1889 Ariz. Sess. Laws

16-17 § 3 (prohibiting the carrying of guns into “any school room, or other place where persons

are assembled for amusement or for educational or scientific purposes” (emphasis added)) (Ex.

34); Revised Statutes of Arizona Territory 1252 (1901) (§ 387) (same law) (Ex. 46); 1890 Okla.

Laws 495, Art. 47 § 7 (Ex. 36); W. A. McCartney et al., Statutes of Oklahoma, 1893 Being a

Compilation of All the Laws Now in Force in the Territory of Oklahoma 504 (1893) (Art. 45, § 7)

(same) (Ex. 40).

       Similar to the above state laws, two localities in Missouri (Columbia and Huntsville)

enacted municipal ordinances that banned guns in any school. See Chapter XVII: Carrying


10
   This statute’s the concealed carry introductory phrase does not apply to the remainder of the
statute: a comma follows, and it would render the later phrase “having upon or about his person
any kind of fire-arms” superfluous. See Collier v. Connolley, 285 Md. 123, 132 (1979) (courts
should avoid statutory construction that renders subsection surplusage). Cf. D. Kopel & J.
Greenlee, The “Sensitive Places” Doctrine, 13 Charleston L. Rev. 205, 255 (2018).

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Concealed Weapons—Firing Guns, Pistols, Fire Crackers, Etc., May 22, 1890, reprinted in

General Ordinances of the Town of Columbia, in Boone County, Missouri 34, 35 (Lewis M.

Switzler ed., 1890) (prohibiting the carrying of dangerous weapons “into any school room, or place

where people are assembled for educational, literary or social purposes” (emphasis added)) (Ex.

35); The Revised Ordinances of the City of Huntsville, Missouri of 1894, at 58-59 (1894)

(prohibiting concealed carry of any deadly or dangerous weapon into “any school room or place

where people are assembled for educational, literary or social purposes” (emphasis added)) (Ex.

42).

       Of note, most County households do not qualify for public preschool, and must send their

children to private preschool. 11 Absent this ban in private schools by the County, children attending

private preschool would not be protected by the County’s ban on firearms.

       The historical justification for the ban at the time of the laws above – safety and protection

of children – remains in effect today and applies to children in both private and public schools.

The County’s ban on weapons in public and private schools is constitutional.

               d.      Publicly or Privately Owned Childcare Facilities

       There are over 1,000 licensed childcare facilities in the County. See Exhibit 3,

https://www.marylandfamilynetwork.org/sites/default/files/2022-02/Montgomery%202022.pdf, at

5. Although there will not be any historic “dead ringers” governing the carry of firearms at

childcare facilities (as most did not exist at the time of the Founders or for most of the 1800s),

childcare facilities are nearly identical to schools for purposes of the Court’s analysis. Both involve


11
   See https://www.montgomeryschoolsmd.org/departments/dtecps/earlychildhood/prek/ (pre-
kindergarten and head start programs are available for “income-eligible” persons);
https://www.benefits.gov/benefit/1915 (listing incomes to qualify for Head Start, with income
caps from $13,560 to $46,630); https://www.census.gov/quickfacts/montgomerycountymaryland
(median household income in Montgomery County 2017-2021 is $117,345).

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groups of children – a vulnerable population – under supervision away from the normal protection

of their parents. This prohibition against guns in childcare facilities places a comparable burden

on the right to carry and is comparably justified given the historical and recognized restriction

against firearms in schools. See Bruen at 2133 (central considerations to analogical inquiry are

whether the regulation imposes a comparable burden on the right to self-defense and whether the

burden is comparably justified).

          Schools are “a well-established and representative historical analogue, not a historical

twin” to childcare facilities. Bruen at 2133. (emphasis in original). Bruen recognized schools as a

sensitive area; the line between schools and daycares is often non-existent in today’s society. Many

schools today offer before or after-school care at the preschool or elementary level, and many

locations combine preschool with daycare.

          Further, although prior to Bruen, at least one federal trial court found that a gun ban in

daycare centers did not violate the Second Amendment in Miller v. Smith, No. 18-cv-3085, 2022

U.S. Dist. LEXIS 44490 (C.D. Ill. Mar. 14, 2022). The Court observed:

                 The fact that day cares are designated spaces for the care of young children
                 is a powerful indicator that they may be “sensitive places.” Moreover, a ban
                 on firearms in day cares is closely analogous to a ban on firearms in schools,
                 which is one of the core “presumptively lawful” measures referenced
                 in Heller. For these reasons, the Court finds that licensed day cares are
                 “sensitive places” in which unusually restrictive firearms prohibitions may
                 be permissible.

See id. at *27. This decision preceded Bruen and therefore did not have any analysis of

historical predecessors, But as noted above, the over 1,000 childcare facilities that exist

today in the County simply did not exist at the time of the Founding or the Reconstruction

period.




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        The “how” and “why” the County regulates firearms for childcare centers – a ban

on firearms to protect children – is entirely consistent with Bruen’s recognition of schools

as sensitive places.

                e.      A Gathering of Individuals to Express Their Constitutional Right to
                        Assemble.

        Many states – Tennessee, Georgia, Texas, and Missouri – historically prohibited carrying

firearms at places of public assembly, public gathering, public assemblage, or political

conventions. See 1869 Tenn. Ch. 22 § 2 (prohibiting any person from carrying a pistol to “any

public assembly of the people”) (Ex. 17); 1870 Ga. Laws 421 (“[F]rom and immediately after the

passage of this act, no person in said State of Georgia be permitted or allowed to carry about his

or her person any ... pistol, or revolver ... to ... any ... public gathering in this State”) (Ex. 18); R.

H. Clark, The Code of the State of Georgia (1882), Part V, Title I, Division IX, § 4528 (firearms

not permitted at “any other public gathering”) (Ex. 28); 1870 Tex. Gen. Laws 63, ch. 46, § 1

(prohibiting a gun or pistol of any kind in any “public assembly”) (Ex. 21); 1879 Tex. Crim. Stat.

tit. IX, Ch. 4, Art. 320 (prohibiting firearm where people gather to perform public duty or “to any

other public assembly) (Ex. 26); 1875 Mo. Laws at 50-51, § 1 (no firearms permitted at any “public

assemblage”); John A. Hockaday et al., Revised Statutes of the State of Missouri 1879, at 224

(1879) (§ 1274) (no firearms allowed “into any other public assemblage of persons met for any

lawful purpose”) (Ex. 25); 1883 Mo. Laws 76 (prohibiting anyone from “having upon or about his

person any kind of firearms" in areas including "any other public assemblage of persons met for

any lawful purpose”) (Ex. 29).

        Arizona and Oklahoma, when they were territories, similarly prohibited the carry of

firearms to any “public assembly.” See 1889 Ariz. Sess. Laws 16-17 (Ex. 34); Revised Statutes

of Arizona Territory at 1252 (1901) (§ 387) (Ex. 34); The Statutes of Oklahoma, 1890, § 7 (Ex.

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36); W. A. McCartney et al., Statutes of Oklahoma, 1893 Being a Compilation of All the Laws

Now in Force in the Territory of Oklahoma 504 (1893) (Art. 45, § 7) (prohibiting firearms at any

“political convention” or “any other public assembly”) (Ex. 40).

       Finally, two municipalities prohibited bringing weapons to lawful public assemblies. See

Chapter XVII: Carrying Concealed Weapons—Firing Guns, Pistols, Fire Crackers, Etc., May 22,

1890, reprinted in General Ordinances of the Town of Columbia, Boone County, Mo. 34, 35

(Lewis M. Switzler ed., 1890) (banning the carry of firearms into any “public assemblage of

persons met for any lawful purpose”) (Ex. 35); The Revised Ordinances of the City of Huntsville,

Missouri of 1894, at 58-59 (similar law) (Ex. 42).

       The County’s ban on firearms at public assemblies is permissible constitutionally given the

foregoing longstanding laws that similarly banned firearms at public assembles.

               f.      Publicly or Privately Owned Parks

       Examples of historical laws prohibiting weapons in parks abound.

       Two states – Minnesota, and Wisconsin – prohibited firearms in their state parks. See 1905

Minn. Laws 620, ch. 344, § 53 (prohibiting firearms within state parks or within “one-half mile of

the outer limits” of a state park, unless the firearm is unloaded and has been sealed by the park

commissioner) (Ex. 50); 1917 Wis. Sess. Laws 1243-44, ch. 668, § 29.57 (4) (no person shall

“have in his possession or under his control therein any gun or rifle, unless the same is unloaded

and knocked down or enclosed within its carrying case” while in any “wild life refuge, state park,

or state fish hatchery lands”) (Ex. 56).

       Notably, North Carolina in 1921 prohibited firearms in any public or private park or

reservation unless the owner or manager gave permission. See 1921 N.C. Sess. Laws 54, Pub.

Laws Extra Sess., ch. 6, §§ 1, 3 (Ex. 57).



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       Fifteen municipalities, between 1857 and 1917, prohibited firearms in public parks

completely, and frequently, with buffer zones around them. See First Annual Report of the Board

of Commissioners of the Central Park (of New York City) (1857) (forbidding the carrying of

firearms in Central Park) (Ex. 13); Fourth Annual Report of the Board of Commissioners of the

Central Park (of New York City) 106 (1861) (same prohibition) (Ex. 15); Acts of Assembly

Relating to Fairmount Park (in Philadelphia) 18 (1870) (“No persons shall carry fire-arms, or shoot

birds in the Park, or within fifty yards thereof”) (Ex. 20); M. J. Sullivan, The Revised Ordinance

of the City of St. Louis, 635 (1881) (§ 3) (“No person shall … use or have in his possession ready

for use in any street, alley, walk or park of the city of St. Louis” any “air gun or other contrivance”

that discharges a “fragment, bolt, arrow, pellet, or other missile”) (Ex. 27); Annual Reports of the

City Officers and City Boards of the City of Saint Paul 689 (Minnesota) (1888) (“No person shall

carry firearms or shoot birds in any Park or within fifty yards thereof”) (Ex. 32); Laws and

Ordinances for the Government of the Municipal Corporation of the City of Williamsport, Pa. 141

(1891) (“No person shall carry fire-arms, or shoot in the park”) (Ex. 37); Charter of the City of

Wilmington (Delaware) (1893) (Part VII, § 7) (“No person shall carry fire-arms or shoot birds or

other animals within the Park”) (Ex. 39); 1895 Mich. Local Acts 596, § 44 (prohibiting the carrying

or discharging of firearms within the public parks and Grand Boulevard of Detroit without

permission of the commissioner) (Ex. 43); A Digest of the Laws and Ordinances for the

Government of the Municipal Corporation of the City of Reading, Pa. 240 (1897) (“No person

shall carry firearms, or shoot in the common, or within fifty yards thereof”) (Ex. 44); Oscar F.

Greene, A Revised Ordinances of the City of Boulder, Colorado § 511 (at 157) (1899) (prohibiting

the carrying of firearms into “any of the parks belonging to the City of Boulder”) (Ex. 45); City of

Trenton, New Jersey, Charter and Ordinances 390 (1903) (“No person shall carry firearms or shoot



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birds in said park or squares, or within fifty yards thereof”) (Ex. 47); Amendments to the Revised

Municipal Code of Chicago of 1905 and New General Ordinances Ch. 45, Art. I § 1526 (at 40)

(1905) (“All persons are forbidden to carry firearms . . . within any of the Parks, Public Play

Grounds or Bathing Beaches of the City”) (Ex. 49); Ordinances, Rules and Regulations of the

Department of Parks of the City of New York § 17(8) (1906) (prohibiting the carrying or firing of

any firearm in parks) (Ex. 51); P. G. Carey, A Digest of the Ordinances of the Borough of

Phoenixville, Pa. at 135 (1906) (“No person shall carry fire-arms or shoot birds or throw stones or

other missiles therein [Reeves Park]”) (Ex. 52); General Municipal Ordinances of the City of

Oakland, Cal., at 15 § 9 (1909) (“No person shall carry firearms. . . within the boundaries of the

parks controlled by the Park Commission”) (Ex. 53); City of Staunton, Va. Code Ch. II, § 135 (at

115) (1910) (“All persons are forbidden … to carry firearms, or to throw stones or other missiles

within [the park.]”) (Ex. 54); Birmingham, Ala. Code Ch. 44 § 1544 (1917) (prohibiting the carry

of firearms in public parks) (Ex. 55).

       Courts considering bans in parks in recent years have held they are “sensitive places.”

Courts so held after finding that the need for self-defense, and by extension carrying a firearm in

parks, is not as acute in as in the home, given that parks are places where children recreate. See,

e.g., Warden v. Nickels, 697 F. Supp. 2d 1221, 1229 (W.D. Wash. 2010) (finding a city park is a

“sensitive place” where it is permissible for the city to ban firearms because, in part, “[t]he need

for self-defense is not ‘most acute’ at city parks and community centers where children and youth

recreate”); Zaitzeff v. City of Seattle, 17 Wash. App. 2d 1, 17, 484 P.3d 470, 479 (2021), review

denied, 498 P.3d 478 (Wash. 2021), cert. denied, 142 S. Ct. 1 123 (2022) (observing that although

the Supreme Court in Heller “[d]oes not list parks as sensitive areas, the public safety concerns

underlying the sensitive area distinction also apply here, particularly the concern about protecting



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children”).

        Given the numerous historical “twins” prohibiting weapons in parks, the County’s gun

restriction in parks is constitutional.

                g.      Places of Worship

        There are many historical analogues to support the County’s ban on guns in places of

worship. 12 Georgia in 1870 and 1882 prohibited the carrying of a “pistol or revolver, or any kind

of deadly weapon, to any…place of public worship.” 1870 Ga. Laws 421 (Ex. 18); R. H. Clark, The

Code of the State of Georgia (1882), Part V, Title I, Division IX, § 4528 (prohibiting deadly

weapons at “any place of public worship”) (Ex. 28). In 1870 and 1879, Texas prohibited any person

from going into “any church or religious assembly” with a gun. 1870 Tex. Gen. Laws 63, ch. 46,

§ 1 (Ex. 21); 1879 Tex. Crim. Stat. tit. IX, Ch. 4, Art. 320 (Ex. 26). The Texas laws did not apply

however to “any person or persons whose duty it is to bear arms on such occasions in discharge of

duties imposed by law.” See id.

        Missouri in 1875, 1879, and 1883 prohibited firearms in any church or place where people

assembled for religious worship. See 1875 Mo. Laws at 50-51, § 1 (prohibiting carrying “any kind

of fire arms” at “any church or place where people have assembled for religious worship”) (Ex.

23); John A. Hockaday et al., Revised Statutes of the State of Missouri 1879, at 224 (§ 1274) (Ex.

25) (;1883 Mo. Laws 76, An Act To Amend Section 1274, Article 2, Chapter 24 Of The Revised

Statutes Of Missouri, Entitled “Of Crimes And Criminal Procedure,” § 1 (Ex. 29).

        Pistols or other dangerous weapons were prohibited in Virginia in 1877 in “any place of

worship while a meeting for religious purposes is being held at such a place, or without good or



12
  Many southern states historically required white male church attendees to bring arms to church
as a precaution to thwart slave revolts. See Patrick J. Charles, Article: Racist History and the
Second Amendment: A Critical Commentary, 43 Cardozo L. Rev. 1343, 1351 (2022).
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sufficient cause therefor.” See 1877 Va. Acts 305 (Ex. 24).

       Arizona, while still a territory in 1889, prohibited the carry “a pistol or other firearm” in

“any church or religious assembly.” 1889 Ariz. Sess. Laws 16-17 § 3 (Ex. 34). Similar to Texas’s

law, this did not apply to law enforcement. See 1889 Ariz. Sess. Laws 16-17 § 4. (Ex. 34)

       Carrying of dangerous weapons “into any church, or place where people have assembled

for religious worship” was not permitted in Columbia, Missouri, in 1890. Chapter XVII: Carrying

Concealed Weapons—Firing Guns, Pistols, Fire Crackers, Etc., May 22, 1890, reprinted in

General Ordinances of the Town of Columbia, in Boone County, Mo., 34, 35 (Lewis M. Switzler

ed., 1890) (emphasis added) (Ex. 35).

       When it was still a territory, Oklahoma, in 1890 and 1893, prohibited the carry of firearms

into “any church or religious assembly.” 1890 Okla. Laws 495, Art. 47 § 7 (Ex. 36); W. A.

McCartney et al., Statutes of Oklahoma, 1893 Being a Compilation of All the Laws Now in Force

in the Territory of Oklahoma 504 (1893) (Art. 45, § 7) (Ex. 40).

       In 1894, Huntsville, Missouri, prohibited the carry of a deadly or dangerous weapon in

“any church or place where people have assembled for religious worship.” This prohibition did

not apply to police officers. See The Revised Ordinances of the City of Huntsville, Missouri of

1894, at 58-59 (Ex. 42).

       These historical precursors are exact matches of the County’s prohibition of guns in places

of worship. Indeed, similar to these laws, the County’s law exempts law enforcement officers or

security guards.

       In addition to these analogous historical statutory precursors, several courts in the 1870s

viewed churches or places of worship as no place for firearms. See Hill v. State, 53 Ga 472, 475

(Ga. 1874) (carrying arms at places of worship “[i]s a thing so improper in itself, so shocking to



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all sense of propriety, so wholly useless and full of evil, that it would be strange if the framers of

the constitution have used words broad enough to give it a constitutional guarantee”); English v.

State, 35 Tex. 473 478-79 (Tex. 1872) ( finding it “[l]ittle short of ridiculous, that any one should

claim the right to carry upon his person any of the mischievous devices inhibited by the statute,

into a peaceable public assembly, as, for instance, into a church…”); Andrews v. State, 50 Tenn.

165, 182 (Tenn. 1871) (observing a “[m]an may well be prohibited from carrying his arms to

church, or other public assemblage, as the carrying them to such places is not an appropriate use

of them”). 13

        Given the “twin” historical analogues above, as well as the historical views of courts on

the propriety of firearms in places of worship, the County’s gun restriction in places of worship is

constitutional.

                  h.   Publicly or Privately Owned Recreational Facilities and Multipurpose
                       Exhibition Facilities, such as a Fairgrounds or Conference Center

        Similar to childcare facilities, the County’s ban of firearms in public or private recreational

or exhibition facilities calls upon this Court to apply the “nuanced” approach described by Bruen,

as recreational activities in today’s society do not always have a precise “twin” in 18th and 19th

century America.

        Many statutes banned firearms at ballrooms, balls, or a “Fandango”, with some specifying

that the prohibition applied only at public rooms, and others making the prohibition broad enough

to include private rooms. See Jerome Bayon, General Digest of the Ordinances and Resolutions




13
  To the extent the Bruen court distinguished the English decision and some of the statutes relied
upon by Defendant, it was in the context of assessing the “proper cause” requirement in in New
York’s public carry law, not in the context of a “sensitive places” analysis. Bruen at 2133-34
(observing defenders of New York’s law “[e]rr in their attempt to characterize New York’s
proper-cause requirement as a ‘sensitive-place law’”).
                                                  34
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of the Corporation of New Orleans at 371 (1831) (Art. 1) (prohibiting “any person to enter into a

public ball-room with any cane, stick, sword or any other weapon” and requiring weapons be

checked before entering a ball room) (enacted 1817) (Ex. 7); 1852 N.M. Laws at 68-97, § 3

(prohibiting “any person to enter said Ball or room adjoining said ball where Liquors are sold, or

to remain in said balls or Fandangos with fire arms or other deadly weapons”) (Ex. 12); 1869 Tenn.

Ch. 22 § 2 (prohibiting the carry of a pistol at any “fair or race course”) (Ex. 17); 1870 Tex. Gen.

Laws 63, ch. 46, § 1 (prohibiting firearms in “a ball room, social party, or other social gathering,

composed of ladies and gentleman”) (Ex. 21); 1889 Ariz. Sess. Laws 16–17 § 3 (banning pistols

at any “place where persons are assembled for amusement” or “any circus, show or public

exhibition of any kind, or into a ball room, social party or social gathering”) (Ex. 34); 1890 Okla.

Laws 495, Art. 47 § 7 (banning the carry of pistols or revolvers into any “place where persons are

assembled … for amusement, or … into any ball room, or to any party or social gathering”) (Ex.

36); W. A. McCartney et al., Statutes of Oklahoma, 1893 Being a Compilation of All the Laws

Now in Force in the Territory of Oklahoma 504 (1893) (Art. 45, § 7) (same prohibition) (Ex. 40);

Revised Statutes of Arizona Territory at 1252 (1901) (§ 387) (prohibiting firearms at any “place

where persons are assembled for amusement …, or into any circus, show or public exhibition of

any kind or into a ball room, social party or social gathering”) (Ex. 46). 14

          The burden placed upon the Second Amendment right by these analogous statutes – to not

bring firearms into places for balls or “amusement” – is similar to the burden created by the

County’s ban on carrying in recreational facilities and convention centers.

          Further, courts considering the issue have found that fairgrounds or community centers are

in fact “sensitive locations” where the Second Amendment does not protect the right to carry and



14
     Oklahoma and Arizona were territories at the time of these statutes.
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guns may be restricted. See, e.g., Christopher v. Ramsey Cty., No. 21-2292 (JRT/ECW), 2022 U.S.

Dist. LEXIS 144159, at *13 (D. Minn. Aug. 12, 2022) (finding state fairgrounds as during the

State Fair “are a sensitive location with thousands of people and children present in often crowded

conditions” and upholding gun ban as constitutional); Warden v. Nickels, 697 F. Supp. 2d 1221,

1229 (W.D. Wash. 2010) (finding for Second Amendment purposes “[n]o logical distinction

between a school on the one hand and a community center where educational and recreational

programming for children is also provided on the other”).

               i.      Publicly or Privately Owned: Hospital; Community Health Center,
                       Any Health Care Facility or Community-Based Program Licensed by
                       the Maryland Department of Health; Long-Term Facility, Including
                       any Licensed Nursing Home, Group Home, or Care Home

       Many of the health care and long-term living facilities in the County’s places of public

assembly did not exist at the time of the founding of our Country, and therefore will require the

exercise of the more “nuanced” analysis called for in Bruen.

       The various health care facilities, especially hospitals, are similar to historical predecessors

in Texas, the territory of Arizona, the territory of Oklahoma, and Montana, whose laws prohibited

firearms in places where persons are assembled for “scientific purposes.” See 1870 Tex. Gen. Laws

63, ch. 46, § 1 (no firearms permitted in any “place where persons are assembled for educational,

literary, or scientific purposes”) (Ex. 21); Revised Statutes of Arizona Territory at 1252 (1901) (§

387) (prohibiting firearms in any “place where persons are assembled for amusement or for

educational or scientific purposes”) (Ex. 46); 1903 Mont. Laws at 49 Ch. 35, § 3 (banning the

concealed or partially concealed carry of a firearm into any “place where persons are assembled

for amusement or for educational or scientific purposes”) (Ex. 47); 1890 Okla. Laws 495, Art. 47

§ 7 (prohibiting the carry of firearms into any place where persons are assembled “for educational

or scientific purposes”) (Ex. 36).

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       Several states refused to accept in their militias those with mental illnesses, using the much

cruder nomenclature of the era for same,. See Mass. Gen. Laws ch. 240 § 1 (1837) (Ex. 10); 1837

Me. Pub. Laws 424 (Ex. 8); 1843 R.I. Pub. Laws 1 (June 1843) (Ex. 11).

       Ultimately, persons frequenting many of these establishments are in a vulnerable condition

seeking treatment for their health, physical or mental. The prohibition against bearing of arms by

such vulnerable populations, historically, were recognized in Heller as constitutional. See Heller,

554 U.S. at 626 (“[n]othing in our opinion should be taken to cast doubt on longstanding

prohibitions on the possession of firearms by . . . the mentally ill”).

       As the historical statutes above prevented weapons in facilities where persons are gathered

for scientific purposes and recognized that individuals who are vulnerable – such as those who

are ill – should not be in the presence of firearms, the County’s prohibition at these facilities is

analogous, and constitutional.

               j.      Publicly or Privately Owned Libraries

       The County’s ban of guns in public libraries is constitutional: all public libraries in the

County are in government-owned or leased buildings, a “sensitive place” where governments may

constitutionally prohibit firearms. Moreover, State law expressly authorizes County to regulate

guns in “public buildings.” See Md. Code Ann., Crim. Law 4-209(b).

       As for privately owned libraries, laws in Texas, Missouri, the territory of Arizona, and

Montana banned the carry of weapons into any place of gathering for “literary” or “educational”

purposes. See 1870 Tex. Gen. Laws 63, ch. 46, § 1 (banning weapons in “any . . . place where

persons are assembled for educational [or] literary” purposes (emphasis added)) (Ex. 21); 1879

Tex. Crim. Stat. tit. IX, Ch. 4, Art. 320 (same law still in effect) (Ex. 26); John A. Hockaday et

al., Revised Statutes of the State of Missouri 1879, at 224 (1879) (§ 1274) (prohibiting carrying



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firearms at “any . . . place where people are assembled for educational, literary or social purposes”

(emphasis added)) (Ex. 25); 1883 Mo. Laws 76, An Act to Amend Section 1274, Article 2, Chapter

24 of the Revised Statutes of Missouri, Entitled “Of Crimes And Criminal Procedure,” § 1 (same

law still in effect) (Ex. 29); 1889 Ariz. Sess. Laws 16-17 (prohibiting the carrying of guns into

“any . . . place where persons are assembled for . . . for educational or scientific purposes”

(emphasis added)) (Ex. 34); Revised Statutes of Arizona Territory at 1252 (1901) (§ 387) (same

law) (Ex. 46); W. A. McCartney et al., Statutes of Oklahoma, 1893 Being a Compilation of All the

Laws Now in Force in the Territory of Oklahoma, 504 (1893) Art. 45, § 7 (prohibiting guns at

“any . . . place where persons are assembled for . . . for educational or scientific purposes”

(emphasis added)) (Ex. 40); 1903 Mont. Laws at 49, Ch. 35 § 3 (prohibiting concealed firearm

carry at “any . . . place where persons are assembled for . . . educational or scientific purposes”

(emphasis added)) (Ex. 48).

       These prohibitions banned firearms anywhere people gathered for educational or literary

purposes, not just public property or government buildings. Given these analogous historical

precursors, Bill 21-22E’s ban of firearms in private libraries is constitutional.

       2.      Plaintiffs Will Not Suffer Irreparable Harm if the Court Does Not Issue an
               Injunction.

       Plaintiffs must make a clear showing that “irreparable injury is likely in the absence of an

injunction.” Winter v. NRDC, Inc., 555 U.S. 7, 22 (2008) (emphasis in original). The harm to be

suffered may not be “remote or speculative, but actual and imminent.” Mt. Valley Pipeline, LLC

v. 6.56 Acres, 915 F.3d 19, 216 (4th Cir. 2019) (quotation omitted). Additionally, harm is

irreparable when it cannot be fully rectified by the final judgment after trial. Id.

       Many provisions of the County’s ban on places of public assembly are authorized expressly

by State law and are analogous to gun restrictions in State law. As such, Plaintiffs will not suffer

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irreparable harm if the County’s restrictions remain in effect.

       For example, the State prohibits firearms in childcare centers. See COMAR §

13A.16.10.04(G) (prohibiting firearms in childcare centers except in a small center located in a

residence). The removal of Bill 21-22’s prohibition of guns in public or privately owned childcare

facilities from places of public assembly would not empower Plaintiffs to carry guns in those

locations given the State’s existing prohibition.

       The County’s prohibition against carrying within a buffer zone of 100 yards of places of

public assembly is authorized by State law. See Md. Code Ann., Crim. Law § 4-209(b)(1)(iii).

Further, the County’s use of a 100 yard buffer zone around places of public assembly mirrors

Maryland’s use of buffer zones on election day, near public demonstrations, and around Ravens

Stadium and Oriole Park at Camden Yards. See Md. Code Ann., Elec. Law § 16-903(a)(3) (2022)

(prohibiting the carry or display of a gun “within 100 feet of a polling site” on election day); Md.

Code Ann., Crim. Law § 4-208(b)(2) (2021) (prohibiting a person from having a firearm in a

vehicle within 1,000 of a demonstration in a public place after being advised by law enforcement

of the demonstration and being ordered to leave); COMAR §§ 14.25.02.06; 14.25.01.01(B)(2)

(weapons prohibition at offices, restaurants, stores, museums, parking facilities, and other facilities

located at Ravens Stadium and Oriole Park at Camden Yards include “the grounds and walkways

surrounding the facilities” and “adjacent parking lots or garages owned or controlled by” the State).

       State law expressly authorizes the County to ban guns within 100 yards of a park. See Md.

Code Ann., Crim. Law § 4-209(b)(1)(iii). Maryland also bans guns in State parks. See COMAR §

08.07.06.04; § 08.07.01.01.

       The County’s ban prohibition against firearms within 100 yards of schools is also

authorized expressly by State law, see Md. Code Ann., Crim. Law § 4-209(b)(1)(iii), and is



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analogous to the State’s existing prohibition of firearms on public school property. See Md. Code

Ann., Crim. Law § 4-102 (b) (2021) (“a person may not carry or possess a firearm, knife, or deadly

weapon of any kind on public school property”).

       Similar to the State, and again expressly pursuant to State law, the County prohibits against

guns in any government buildings. See COMAR § 04.05.01.03; COMAR § 04.05.01.01 (an

individual may not carry “open or concealed firearms” in “State public buildings, improvements,

grounds, and multiservice centers under the jurisdiction of the State Department of General

Services”); Md. Code Ann., Crim. Law § 4-209(b)(1)(iii) (authorizing counties to regulate guns in

public buildings). The County’s inclusion of polling places, legislative assembly, and courthouses

as places of public assembly where guns are not permitted are a reflection of their State law

counterparts. See Md. Code Ann., Elec. Law § 16-903(a)(3) (2022) (prohibiting the carry or

display of a gun “within 100 feet of a polling site” on election day); Md. Code Ann., State Gov’t

§ 2-1702 (2021) (a person may not willfully bring a firearm into a building where the “Senate or

House has a chamber; a member, officer, or employee of the General Assembly has an official

office; or a committee of the General Assembly, the Senate, or the House has an office”); COMAR

§ 04.05.01.03; COMAR § 04.05.01.01 (an individual may not carry “open or concealed firearms”

in “State public buildings, improvements, grounds, and multiservice centers under the jurisdiction

of the State Department of General Services”).

       Another example of a similarity between County’s law and the State’s firearms ban exists

with respect to the constitutional right to public assembly. The State prohibits firearms at a

demonstration in a public place after advised by law enforcement to leave the area because a

demonstration is occurring. See Md. Code Ann., Crim. Law § 4-208(b)(2) (2021). While the

County’s law does not include the requirement of interaction with a law enforcement officer, the



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State’s prohibition of a weapon in a “demonstration in a public place” aligns with the County’s

prohibition against bearing arms around those assembled to exercise their constitutional rights.

       Finally, the State similarly prohibits weapons in areas that are for recreational use or are

used for convention-type events. See COMAR §§ 14.25.02.06, 14.25.01.01(B)(2) (prohibiting

weapons at Oriole Park at Camden Yard and Ravens Stadium, and at offices, restaurants, stores,

museums, parking facilities, and other facilities located on the Camden Yards Sports Complex);

COMAR §§ 11.05.05.08(C); 11.05.05.02(B)(16) (prohibiting possession or carrying, either openly

or concealed, of any weapon on Baltimore World Trade Center property, except for official

purposes and by authorized personnel); COMAR § 34.04.08.04 (prohibiting a person other than

an authorized law enforcement officer from possessing a weapon at a State museum). The

County’s inclusion of recreational or convention facilities as places of public assembly where

weapons may not be carried is comparable to these State restrictions.

       Enjoining the County’s prohibitions against carrying in places of public assembly will not

preserve or alter Plaintiffs’ status quo as to the foregoing analogous locations and activities where

the State bans weapons. And as noted, many of the County’s defined places of public assembly

are in fact identical to State prohibitions. As law-abiding citizens with State-issued carry permits,

Plaintiffs were apparently able to comply with the same or similar State carry prohibitions to date

without suffering irreparable harm. 15 Plaintiffs’ attestations of irreparable harm due to the

County’s gun ban at similar locations and activities in the County, even with a State permit, ring

hollow.




15
   See, e.g., https://www.marylandshallissue.org/jmain/information/md-carry-permits#f (listing
“Places and Times In Which Firearms Can Not Be Legally Carried by a Permit Holder”).
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       3.      The Balance of the Equities and the Public Interest Weigh in Favor of Denying
               Plaintiffs’ Request for an Injunction.

       When a temporary restraining order is sought against the government, “the government’s

interest is the public’s interest,” and the third and fourth elements necessary for an injunction – the

balance of the equities and the public interest – merge. See Ass’n of Cmty. Cancer Cntrs. v. Azar,

509 F. Supp. 3d 482, 501 (D. Md. 2020) (citing Pursuing America’s Greatess v. FEC, 831 F.3d

500, 511 (D.C. Cir. 2016) and Nken v. Holder, 556 U.S. 518, 435 (2009)).

       As an initial matter, courts historically recognize that public safety – albeit in a means-end

scrutiny context – is a compelling governmental interest. See, e.g., United States v. Salerno, 481

U.S. 739, 750 (1987) (“the Government's general interest in preventing crime is compelling”;

Schall v. Martin, 467 U.S. 253, 264, 104 S. Ct. 2403, 2410 (1984) (“[t]he legitimate and

compelling state interest in protecting the community from crime cannot be doubted” (quotation

omitted)).

       Staying enforcement of Bill 21-22E will undermine the strong interest that the public has

in preventing gun violence in areas where people, especially vulnerable populations, congregate.

According to the Centers for Disease Control, in 2020, 45,222 people died from gun-related

injuries in the United States – the most in any year recorded. See Montgomery County, Maryland,

Office of Legislative Oversight, Memorandum Report 2022-13, Firearms: Availability, Data, and

Legal Authority in Montgomery County, MD (November 1, 2022) (Ex. 2 at 20). Gun deaths are

now the leading cause of death for children, teens, and young adults in the United States of

America. See Bruen at 2165.

       The County is not immune from this scourge of gun violence. As of July 2022, nonfatal

shootings were up 75 percent and noncontact shootings increased 29 percent compared to the same

time period in 2021. See Dan Morse, Gun violence rises sharply in Montgomery County, police

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chief says, The Washington Post, July 11, 2022,            https://www.washingtonpost.com/dc-md-

va/2022/07/11/montgomery-county-gun-violence-double/ (Ex. 5). The number of guns, except for

personally manufactured firearms (PMFs) (or “ghost guns”), confiscated by the Police increased

51% in 2021. See Exhibit 2 at 13. In 2022, the Police confiscated 22% more ghost guns than the

prior year. See id. One such confiscated ghost gun was used in January 2022 by a 17-year old

student to shoot another 15-year old student in the restroom of a County high school in the middle

of the school day. See Darcy Spencer, Maryland Teenager Sentenced to 18 Years for Shooting

Student       at     Magruder      High,      NBCwashington.com,         December       22,     2022,

https://www.nbcwashington.com/news/local/maryland-teenager-sentenced-to-18-years-for-

shooting-student-at-magruder-high/3239939/.

          Plaintiffs assert that by virtue of residing next to an unspecified County park, they risk a

violation of the law as soon as they leave their property. Similarly, Plaintiffs argue that the buffer

zones and number of places of public assembly make it impossible to traverse the County on major

thoroughfares without being in violation of the law. These are not reasonable constructions of the

law. See Davis v. State, 295 Md. 370, 377-78 (1982) (courts must construe statutes reasonably; a

construction giving rise to a doubt about its constitutionally should be avoided). Law enforcement

officers are not routinely parked at the edges of County parks hoping to ensnare lawful gun owners

as they leave their adjacent property, nor can they constitutionally pull vehicles over on the road

in the absence of probable cause.

          Plaintiffs make much of the in terrorem effect upon them of the County’s law when

exercising their Second Amendment right to carry in public, away from their homes where their

right to self-defense is most acute. At some point, Plaintiffs’ fear is outweighed by the fear the

non-permit holding public may have that a stranger standing next to them – of unknown current



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mental state or temperament – is carrying a loaded firearm as they exercise their First Amendment

right to assemble in a place of public assembly. 16 See, e.g., State v. Spencer, 75 Wash. App. 118,

124, 876 P.2d 939, 942 (1994) (observing “[p]eople have a strong interest in being able to use

public areas without fearing for their lives”). Given the recent torrent of mass shootings in the

U.S., any person would feel trepidation knowing an individual, who is not a law enforcement

officer, brought lethal force to any of the County’s defined places of public assembly. See, e.g.,

Bruen at 2165 (Breyer, J., dissenting) (observing that “[s]ince the start of this year alone (2022),

there have already been 277 reported mass shootings—an average of more than one per day”).

And any assertion that the public should feel safer knowing a law-abiding, licensed firearm carrier

is standing beside them and could stop a mass shooting is simply not statistically accurate. See

Larry Buchanan and Laura Leatherby, Who Stops a ‘Bad Guy With a Gun’?, The New York Times,

June 22, 2022, https://www.nytimes.com/interactive/2022/06/22/us/shootings-police-response-

uvalde-buffalo.html?searchResultPosition=1, attached hereto as Exhibit 6 (stating that out of 433

active shooting attacks, 22 were stopped by armed bystanders shooting attackers, and 10 of armed

bystanders were security guards or an off-duty police officer).

        The balance of the equities and the public interest weigh in favor of the County, which

again, enacted this law neither to flout the Second Amendment nor Bruen, but rather, to combat

the rise of gun violence, and to protect the rights of the public to exercise their constitutional rights

in public without fear of being shot.




16
   See Pls. Memo. (ECF No. 54-1) at 15 (quoting the County Council President “on the right of
me and my family to go to a movie theater without having to wonder or worry about someone
sitting next to me is carrying a gun on them”).
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VI.    CONCLUSION

       This Court should deny Plaintiffs’ request for injunctive relief: Plaintiffs lack standing, and

every place of public assembly defined in the County’s law has either an exact historical match or

similar historical analogue that prohibited firearms. The County’s law is constitutional under the

historical analysis required by Bruen. Moreover, the County’s law is authorized by the State and

is similar or analogous to many similar gun restrictions in effect at the State level. The County’s

law reflects the very strong public interest in stemming the surge of gun violence in the County.

       Plaintiffs will not likely succeed on the merits, have not shown irreparable harm, and the

public interest and equities lie in enforcing the County’s law. Defendant respectfully requests that

this Court deny Plaintiffs’ request for a Temporary Restraining Order and Preliminary Injunction.

                                              Respectfully submitted,


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